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   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735

 6 General Bankruptcy Counsel for Jinzheng Group
   (USA) LLC, Debtor and Debtor in Possession
 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                        LOS ANGELES DIVISION
11

12 In re                                                     Case No. 2:21-bk-16674-ER

13 JINZHENG GROUP (USA) LLC,                                 Chapter 11

14                     Debtor.                               DEBTOR’S NOTICE OF MOTION TO
                                                             AUTHORIZE SALE OF REAL
15                                                           PROPERTY LOCATED AT
                                                             150 EAST LA SIERRA DRIVE,
16                                                           ARCADIA, CALIFORNIA 91006, FREE
                                                             AND CLEAR OF LIENS
17
                                                             Date:   November 15, 2022
18                                                           Time:   11:00 a.m.
                                                             Crtrm.: 1568
19                                                                   255 East Temple Street
                                                                     Los Angeles, California 90012
20

21            TO THE HONORABLE ERNEST M. ROBLES AND INTERESTED PARTIES:
22            PLEASE TAKE NOTICE THAT on November 15, 2022 at 11:00 a.m., or as soon
23 thereafter as the matter may be heard, in Courtroom 1568 of the United States Bankruptcy Court,

24 255 E. Temple Street, Los Angeles, California, Jinzheng Group (USA), LLC, Debtor and Debtor in

25 Possession (the “Debtor”), will move and has contemporaneously herewith filed a motion (the

26 “Motion”) under 11 U.S.C. §§ 363(b) and (f), and Local Bankruptcy Rules 6004-1(c) and 9013-1,

27 for an order authorizing the sale of the estate’s right, title and interest in real property located at

28 150 East La Sierra Drive, Arcadia, California 91006 (the “Property”), free and clear of liens,

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 1 interests, and other encumbrances. The proposed sale is pursuant to a Purchase and Sale

 2 Agreement (the “PSA”), a copy of which is attached to the Motion as Exhibit “1.”

 3            The Motion is made on the following grounds: the Debtor is requesting authority to sell the

 4 Property free and clear of liens pursuant to 11 U.S.C. § 363.

 5            Pursuant to Local Bankruptcy Rule 6004-1(c), the Debtor provides the following

 6 information:

 7            A.       The date, time and place of the hearing on the Motion are set forth above.

 8            B.       The Debtor has proposed the sale of the Property to Kenny Yu (the “Buyer”),

 9 subject to opportunities for overbidding.

10            C.       The property to be sold consists of all of the Debtor’s right, title, and interest in the

11 Property, which is located at 150 East La Sierra Drive, Arcadia, California 91006, bearing Assessor

12 Parcel Number 5781-010-063.

13            D.       Any and all contingencies agreed to relating to the sale have been waived, and thus

14 the sale will not be contingent upon any events or conditions other than this Court’s approval and

15 potential overbidding.

16            E.       The Property will be sold for $2,100,000 (the “Proposed Sale Price”), subject to
17 overbid, in its “as is,” “where is” condition, with no warranty or recourse whatsoever. The

18 Buyer has conducted all due diligence on the Property that the Buyer believes is necessary for the

19 completion of this sale.

20            F.       Based on a review of the Debtor’s schedules, proofs of claim filed in the Debtor’s

21 case, and a preliminary title report, a copy of which is attached with the Motion, the only known

22 liens and encumbrances against the Property are:

23                     1.      A deed of trust in favor of Sound Equity Inc. (“Sound”), securing a note in

24 the amount of approximately $2,340,000 (the “Sound Deed of Trust”). According to Sound, the

25 current amount of debt outstanding on the note is approximately $1,928,454.69. This amount is

26 allegedly comprised of a principal debt of $1,551,633.59, standard interest charges in the amount of

27 $12,011.88, default interest charges in the sum of approximately $302,050.64, attorneys’ fees in the

28

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 1 amount of at least $8,100, and various other fees and charges in the amount of $54,658.58 (the

 2 “Miscellaneous Fees”).

 3                     2.    A claim of mechanic's lien in favor of Resco Electric, Inc. (“Resco”), in the

 4 amount of $3,837.24 (the “Resco Lien”).

 5                     3.    A claim of mechanic's lien in favor of the TCS Building Solution, Inc.

 6 (“TCS”), in the amount of $350,000 (the “TCS Lien”).

 7            The liens and claims in favor of Sound, Resco, and TCS are referred to hereinafter

 8 collectively as the “Subject Liens.” The Debtor disputes: (a) the default interest, attorneys’ fees,

 9 and Miscellaneous Fees asserted by Sound 1, (b) the Resco lien, and (c) the TCS Lien. The Debtor

10 is preparing to object to such disputed portions of the Subject Liens. Thus, such disputed portions

11 of the Subject Liens are subject to a bona fide dispute under section 363(f)(4) of the Bankruptcy

12 Code. Accordingly, the Debtor seeks to sell the Property free and clear of the Subject Liens,

13 including free and clear of the disputed portions. The Debtor intends to sell the Property free and

14 clear of these liens, satisfy the undisputed amounts owed under the Subject Liens in full from the

15 net sale proceeds, and attach the disputed portions to the net proceeds of the sale with the same

16 force, effect, validity and priority that they have with respect to the Property.

17            Under Ninth Circuit and other authorities, default interest and other charges by oversecured

18 creditors may be disallowed when they are inequitable. The Debtor is preparing to object to the

19 default interest allegedly accrued in connection with the Sound Deed of Trust (the “Default

20 Interest”) because they are inequitable in the present circumstances. The Debtor believes that the

21 default interest rate asserted by Sound would cause significant harm to the Debtor’s creditors and

22 the estate. Therefore, the Debtor plans to object to Sound’s claims to determine that the Default

23 Interest and other disputed portions are inequitable. The Debtor is also preparing to object to the

24 claim for attorneys’ fees and Miscellaneous Fees asserted by Sound because the Debtor believes

25 that such fees are not allowable under the Bankruptcy Code. Additionally, Debtor believes that the

26

27   1
    The Debtor reserves its right to object to the standard contractual interest charges asserted by
28 Sound at a later time within the context of a claim objection or similar proceeding.

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 1 TCS Lien is subject to challenge both as (1) a preferential transfer under section 547 of the

 2 Bankruptcy Code and (2) an unenforceable lien pursuant to California Civil Code §8460 and is

 3 therefore avoidable under section 544 of the Bankruptcy Code. Similarly, the Resco lien appears to

 4 be unenforceable under California Civil Code §8460 and is therefore avoidable under section 544

 5 of the Bankruptcy Code. Thus, the sale of the Property will be made free and clear of the disputed

 6 portions of the Subject Liens, including the default interest asserted by Sound, which will attach to

 7 the sale proceeds with the same force, effect, validity, and priority that they have with respect to the

 8 Property. Specifically, the Debtor will hold the applicable net sale proceeds in escrow, subject to

 9 further Court order.

10            G.       The proposed sale is subject to higher and better bids and, by way of this Motion,

11 the Debtor is requesting that the Court approve the overbid procedures described in the

12 accompanying memorandum of points and authorities, summarized as follows:

13                     1.     Minimum initial overbid: $2,150,000 (i.e. $50,000 above the Buyer’s
14 current offer).

15                     2.     Minimum overbidding increments: $10,000.
16                     3.     Initial overbid deposit: $64,500.
17                     4.     Qualification for overbidding: Any party wishing to overbid on the
18 Property must deliver no later than November 10, 2022 to the Debtor c/o Danning, Gill, Israel &

19 Krasnoff, LLP, Attn: Alphamorlai L. Kebeh, 1901 Avenue of the Stars, Suite 450, Los Angeles,

20 California 90067:

21                            i.        a cashier’s check payable to “Jinzheng Group (USA) LLC” in the

22 amount of $64,500, and

23                            ii.       a written, executed overbid in the form attached as Exhibit “2” to the

24 Declaration of Alphamorlai L. Kebeh.

25            No party will be allowed to bid on the Property absent timely delivery of the initial overbid

26 deposit and the written, executed overbid form (unless the Debtor exercises its discretion to allow

27 such bid). The Debtor in its sole discretion may determine that a party desiring to bid is not

28 qualified due to insufficient documentation or financial qualifications. The Debtor will consult

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 1 with the Committee’s counsel regarding submitted overbids. Accordingly, any party wishing to bid

 2 is encouraged to contact the Debtor’s counsel at least one week before the hearing to ensure

 3 qualification.

 4            H.       Back-up bidders: Any qualified overbidder who is not the successful overbidder
 5 may opt to be a back-up bidder, subject to the Debtor’s approval, in which case such back-up

 6 bidder’s initial deposit will be retained by the Debtor’s counsel until the sale closes.

 7            I.       Estimated Net Sale Proceeds: The opening sale price for the Property is
 8 $2,100,000. The Debtor estimates that the breakdown of the net sale proceeds, with 5% broker’s

 9 commission, liens, fees, and anticipated costs of sale, as follows:

10       Sale Price                   $2,100,000.00
         Commission to Debtor’s
11
         Brokers (3%)                 ($63,000.00)
12       Commission to Buyer’s
         Broker (2%)                 ($42,000.00)
13       Sale costs (estimated 2% of
         Sale Price)                 ($42,000.00)
14       Sound Deed of Trust
15       (Principal and Standard
         Interest Only)2              ($1,563,645.47)
16       Estimated Net Sale Proceeds $389,354.53
17
              J.       The Debtor proposes to pay a real estate broker’s commission of 5% of the sale
18
     price of the Property as follows: 1.5% each to Coldwell Banker Realty and Re/Max of Cerritos as
19
     the Debtor’s brokers, and 2% to Re/Max Universal as the Buyer’s broker. If there is a successful
20
     overbidder (i.e., not the Buyer), and such successful overbidder is represented by a broker, the
21
     Debtor shall pay a real estate broker’s commission of 5% of the sale price of the Property as
22
     follows: 3% to the Debtor’s brokers and 2% to the successful overbidder’s broker. If such
23
     successful overbidder does not have a broker or if the brokers represent both the Debtor and the
24
     buyer, the Debtor shall pay a real estate broker’s commission of 4% of the sale price of the
25
     Property as follows: 2% each to Coldwell Banker Realty and Re/Max of Cerritos.
26

27   2
     As stated previously, the Debtor proposes to pay Sound the value of its accrued contractual
28 standard interest without prejudice to the Debtor’s right to object to Sound’s claims at a later date.

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 1            K.       Anticipated Taxes: The Debtor is inquiring with its tax consultant regarding the
 2 potential tax consequences of the sale. The Debtor expects to provide an update with respect to any

 3 tax consequences at or prior to the hearing on the Motion.

 4            This Motion is based upon this Notice of Motion, the Motion, the Memorandum of Points

 5 and Authorities, the Declarations of Zhao Pu Yang, Kenny Yu, Stephen Eng, and Alphamorlai L.

 6 Kebeh, and Request for Judicial Notice; the papers and pleadings in the Debtor’s bankruptcy case;

 7 and such other evidence that may be presented at the hearing.

 8            PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-1(f),
 9 each interested party opposing, joining in, or responding to the Motion must, not later than 14 days

10 before the date of the hearing, file with the Clerk of the Bankruptcy Court and serve upon the

11 Debtor’s undersigned general counsel either: (i) a complete written statement of all reasons in

12 opposition thereto or in support or joinder thereof, declarations and copies of all evidence on which

13 the responding party intends to rely, and any responding memorandum of points and authorities; or

14 (ii) a written statement that the Motion will not be opposed.

15            Pursuant to Local Bankruptcy Rule 9013-1(h), failure to timely file and serve papers may

16 be deemed by the Court to be consent to the granting of the Motion.

17

18 DATED: October 24, 2022                        DANNING, GILL, ISRAEL & KRASNOFF, LLP

19

20
                                                  By:         /s/ Alphamorlai L. Kebeh
21                                                      ALPHAMORLAI L. KEBEH
                                                        General Bankruptcy Counsel for Jinzheng Group
22                                                      (USA) LLC, Debtor and Debtor in Possession
23

24
     DATE OF MAILING: October 24, 2022
25

26

27

28

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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): DEBTOR’S NOTICE OF MOTION TO
AUTHORIZE SALE OF REAL PROPERTY LOCATED AT 150 EAST LA SIERRA DRIVE, ARCADIA, CALIFORNIA
91006, FREE AND CLEAR OF LIENS will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document.
On October 24, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and
determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
addresses stated below:



                                                                                    Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On October 24, 2022 , I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by causing to be placed a true and correct copy
thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing
the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.



                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



  October 24, 2022                        Beverly Lew                                           /s/ Beverly Lew
  Date                                    Printed Name                                          Signature




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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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                                             ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)
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Alphamorlai Lamine Kebeh on behalf of Plaintiff JINZHENG GROUP (USA) LLC                                       akebeh@danninggill.com
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hmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.com

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Peter J Ryan on behalf of Defendant Thomas L. Testa                             ryan@floresryan.com, schneider@floresryan.com

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danninggill@gmail.com;zshechtman@ecf.inforuptcy.com

Zev Shechtman on behalf of Interested Party INTERESTED PARTY                                        zshechtman@DanningGill.com,
danninggill@gmail.com;zshechtman@ecf.inforuptcy.com

Zev Shechtman on behalf of Plaintiff JINZHENG GROUP (USA) LLC                                       zshechtman@DanningGill.com,
danninggill@gmail.com;zshechtman@ecf.inforuptcy.com

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United States Trustee (LA)                       ustpregion16.la.ecf@usdoj.gov

Hatty K Yip on behalf of U.S. Trustee United States Trustee (LA) hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov


2. SERVED BY U.S. MAIL
JINZHENG GROUP (USA) LLC                       The Honorable Ernest M. Robles                     Lienholder
1414 S Azusa Ave, Suite B-22                   U.S. Bankruptcy Court                              Resco Electric Inc.
West Covina, CA 91791                          255 E. Temple Street, Suite 1560                   2431 W. Washington Blvd., #B
                                               Los Angeles, CA 90012                              Los Angeles, CA 90018


Lienholder                                     Lienholder                                         Lienholder
Resco Electric Inc.,                           TCS Building Solution, Inc.                        TCS Building Solution, Inc.
Agent for Service of Process                   800 W. 6th Street, #1250                           Agent for Service of Process
YOUNG H PARK                                   Los Angeles, CA 90017                              BRIAN G YOU
350 FULLER AVE                                                                                    800 W 6TH ST SUITE 1250
LOS ANGELES, CA 90036                                                                             LOS ANGELES, CA 90017

DNQ, LLC
Jason D. Wang
6145 W. Spring Mountain Road, #205
Las Vegas, NV 89146

 Internal Revenue Service                        Avenue 8                                          Chekian Law Office, Inc.
 PO Box 7346                                     c/o Darren Hubert                                 Chekian Law Office, Inc.
 Philadelphia, PA 19101-7346                     3900 Wilshire Blvd                                445 South Figueroa Street
                                                 Beverly Hills, CA 90212                           31st Floor
                                                                                                   Los Angeles, CA 90071-1635




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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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 LOS ANGELES COUNTY                              Employment Development Dept.                      Franchise Tax Board
 TREASURER AND TAX                               Bankruptcy Group MIC 92E                          Bankruptcy Section MS: A-340
 COLLECTOR                                       P.O. Box 826880                                   P.O. Box 2952
 ATTN BANKRUPTCY UNIT                            Sacramento, CA 94280-0001                         Sacramento, CA 95812-2952
 PO BOX 54110
 LOS ANGELES CA 90054-0110

 Securities & Exchange Commission                Orantes Law Firm, P.C.                            OFFICE OF FINANCE CITY OF
 444 South Flower St., Suite 900                 The Orantes Law Firm, P.C.                        LOS ANGELES
 Los Angeles, CA 90071-2934                      3435 Wilshire Blvd., suite 2920                   200 N SPRING ST RM 101 CITY
                                                 los angeles, CA 90010-2015                        HALL
                                                                                                   LOS ANGELES CA 90012-3224

 Michael Douglas Carlin                          Los Angeles Division                              Accutax Services
 PO Box 67132                                    255 East Temple Street,                           9040 Telstar Ave Ste 105
 Century City, CA 90067-0132                     Los Angeles, CA 90012-3332                        El Monte CA 91731-2838

 American Modern Insurance                       BETTY ZHENG                                       BOBS LLC
 7000 Midland Blvd                               28 N. 3RD ST. #b513                               Attn: Barry Shy
 Amelia OH 45102-2608                            ALHAMBRA, CA 91801-6234                           7525 Avalon Bay St
                                                                                                   Las Vegas, NV 89139-5307

 BREEZEBLOCK CAPITAL, LLC                        Bamboo Insurance                                  Bentula Lenta, Inc.
 c/o Pacific Mortgage Exchange, Inc.             7050 Union Park Center Ste 400B                   David Park
 P.O. Box 2836                                   Midvale UT 84047-6055                             800 W. 6th Street
 Big Bear Lake, CA 92315-2836                                                                      Suite 1250
                                                                                                   Los Angeles, CA 90017-2721

 Best Alliance                                   Betula Lenta Inc.                                 Build Group Construction Co
 16133 Ventura Blvd.                             800 West 6th Street                               700 Flower St 575
 Suite 700                                       Suite 1250                                        Los Angeles CA 90017-4122
 Encino, CA 91436-2406                           Los Angeles, CA 90017-2721

 California American Water                       Coory Engineering                                 Corona Capital Group, LLC
 8657 Grand Ave                                  1718 N Neville St                                 1222 Crenshaw Blvd.
 Rosemead CA 91770-1220                          ORANGE, CA 92865-4214                             #B
                                                                                                   Torrance, CA 90501-2496

 Craig Fry & Associates                          Craig Fry and Associates                          DNQ LLC
 990 S. Arroya Pkwy, #4                          990 Arroyo Parkway #4                             Jason D Wang
 Pasadena, CA 91105-3920                         Pasadena, CA 91105-3920                           6145 W Spring Mountain Rd. #205
                                                                                                   Las Vegas NV 89146-8819

 David S Zu                                      David Z. Su                                       Donna Bullock
 100 N Citrus St Ste 330                         100 N. Citrus Street Ste 615                      Attorney at Law
 West Covina CA 91791-1674                       West Covina, CA 91791-6600                        800 W 6th St
                                                                                                   Suite 1250
                                                                                                   Los Angeles, CA 90017-2721

 Donna Bullock Esq                               EFI Global                                        Franchise Tax Board Chief Counsel
 Law Offices of Donna Bullock                    5261 W Imperial Hwy                               c/o General Counsel Section
 800 W 6th St Suite 1250                         Los Angeles CA 90045-6231                         P.O. Box 720, MS: A-260
 Los Angeles CA 90017-2721                                                                         Rancho Cordova, CA 95741-1720

 Home Loans Unlimited                            Home Loans Unlimited, Inc.                        Griffin Underwriters
 Attn Daniel Triana                              28859 Phantom Trail                               PO Box 3867
 28859 Phantom Trail                             Santa Clarita, CA 91390-5295                      Bellevue WA 98009-3867
 Santa Clarita, CA 91390-5295


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June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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 Investment Management Company                   Jade Capital                                      Ji Anqi Ngyang
 1507 7th Street, #344                           333 Thornall St Ste 101                           66 Yuhua West Rd
 Santa Monica, CA 90401-2605                     Edison NJ 08837-2220                              Shi Ji Azhuang Hebei Province 050000
                                                                                                   Chi

 Jianqing Yang                                   Jinzheng Group (USA) LLC                          LA City Treasurer and Tax Collector
 PO Box 3702                                     100 E. Huntington Dr. Ste 207                     255 N Hill St 1st Fl
 Alhambra CA 91803-0702                          Alhambra, CA 91801-1022                           Los Angeles CA 90012-2705

 LT Management Group                             Land Design Consultants                           Law Offices of Matthew C. Mullhofer
 1414 S. Azusa Ave.                              800 Royal Oaks Drive                              2107 N. Broadway
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 West Covina, CA 91791-4088                      Monrovia, CA 91016-6364                           Santa Ana, CA 92706-2633

 Los Angeles Treasurer Tax Collector             Marc Cohen                                        Michael Carlin
 P.O. Box 54018                                  Cohen Law Group, APC                              PO Box 67132
 Los Angeles, CA 90054-0018                      541 S. Spring Street                              Century City, CA 90067-0132
                                                 Ste. 1208
                                                 Los Angeles, CA 90013-1667

 Michael E. Dorff and Shari L. Dorff             Donna Bullock Carrera                             Overland Traffic Consultants
 3239 Bordero Lane                               LAW OFFICES OF DONNA                              952 Manhattan Beach Blvd 100
 Thousand Oaks, CA 91362-4659                    BULLOCK                                           Manhattan Beach CA 90266-5112
                                                 800 W 6th St., Ste 1250
                                                 Los Angeles, CA 90017-2721

 Pacific Geotech Inc                             Pacific Mortgae Exchange, Inc.                    Pennington Construction Advisors Inc
 Attn Jirayus Pukkansasut                        73241 Hwy. 111, Ste. 1-A                          Attn: Todd C. Pennington
 15038 Clark Ave                                 Palm Desert, CA 92260-3921                        79 Bell Pasture Rd
 Hacienda Heights CA 91745-1408                                                                    Ladera Ranch CA 92694-1558

 Phalanx                                         ROYAL BUSINESS BANK                               Royalty Equity Lending LLC
 424 E. 15th Street                              1055 WILSHIRE BLVD SUITE 1220                     600 S. Spring Street
 Suite 10                                        LOS ANGELES CA 90017-3103                         Suite 106
 Los Angeles, CA 90015-3140                                                                        Los Angeles, CA 90014-1979

 Shawn Charles Sourgose                          State Farm Insurance                              Testa Capital Group
 2111 Seville Drive                              PO Box 588002                                     620 Newport Center Dr., #1100
 Santa Paula, CA 93060-8042                      North Metro GA 30029-8002                         Newport Beach, CA 92660-8011

 Testa Capital Group                             The Alison Company                                The Code Solution, Inc.
 Attn Thomas L Testa                             2060 D Avenida De Los Arboles                     Attn Jamie Cho
 620 Newport Center Drive                        #471                                              800 W. 6th Street
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 Newport Beach, CA 92660-8011                                                                      Los Angeles, CA 90017-2721

 The Orantes Law Firm APC                        The Phalanx Group                                 The Phalanx Group
 3435 Wilshire Blvd. Ste 2920                    424 E. 15th St Ste 10                             Anthony Rodriguez
 Los Angeles, CA 90010-2015                      Los Angeles, CA 90015-3140                        424 E 15th St Ste Unit 10
                                                                                                   Los Angeles CA 90015-3140

 The Phalanx Group, Inc.                         UltraSystems Environmental                        The Phallanx Group
 Anthony Rodriguez                               Attn Hassan Ayati                                 Anthony Rodriguez
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 Los Angeles, CA 90012                           Irvine, CA 92618-4355                             Los Angeles CA 90012




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 Matthew Resnik                                  Yepez Gardening Services
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